           Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 1 of 13




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YVONNE BROWN,                          )
                                       )
      Plaintiff,                       )
                                       )        CIVIL ACTION
v.                                     )
                                       )        FILE No. _____________________
THE BILL & JANICE DUNCAN               )
FAMILY PARTNERSHIP, L.P.,              )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendant THE BILL & JANICE

DUNCAN FAMILY PARTNERSHIP, L.P. pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                          JURISDICTION AND VENUE

      1.       This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

                                            1
           Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 2 of 13




      2.       Venue is proper in the federal District Court for the Northern District

of Georgia, Newnan Division, as the parcel of real Property at issue in this case is

located in Carroll County, Georgia, and Defendant maintains its registered agent

for service of process in Carroll County, Georgia.

                                      PARTIES

      3.       Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Douglasville,

Georgia (Douglas County).

      4.       Plaintiff suffers from Epilepsy, Multiple Sclerosis (“MS”) and has

suffered multiple injuries resulting in irreversible damage to her legs, and is

disabled as defined by the ADA.

      5.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.       Plaintiff uses a wheelchair for mobility purposes.

      7.       Defendant    THE     BILL       &   JANICE       DUNCAN        FAMILY

PARTNERSHIP, L.P. (hereinafter “Defendant”) is a Georgia limited partnership

that transacts business in the state of Georgia and within this judicial district.

      8.       Defendant may be properly served with process via its registered


                                           2
           Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 3 of 13




agent for service, to wit: Billy D. Duncan, 135 Edgewood Drive, Carrollton,

Georgia 30116.

                            FACTUAL ALLEGATIONS

      9.       On or about July 18, 2021, Plaintiff was a customer at “Wings Citi

Cafe,” a business located at 2502 Villa Rica Highway, Carrollton, Georgia 30116.

      10.      Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.      Plaintiff lives approximately twenty (20) miles from the Facility and

Property.

      12.      Plaintiff regularly travels in the near vicinity of the Facility and

Property.

      13.      Plaintiff’s access to the business(es) located at 2502 Villa Rica

Highway, Carrollton, Georgia 30116 (Carroll County Property Appraiser’s parcel

number 131 0349), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of her disabilities, and she will be denied

and/or limited in the future unless and until Defendant is compelled to remove the


                                          3
        Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 4 of 13




physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      14.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      19.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

                                           4
        Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 5 of 13




$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.    The Facility is a public accommodation and service establishment.

      21.    The Property is a public accommodation and service establishment.

      22.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,


                                         5
        Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 6 of 13




and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of her

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as


                                           6
        Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 7 of 13




required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    The Property lacks a van accessible disabled parking space, in

             violation of section 208.2.4 of the 2010 ADAAG standards

      (ii)   The two existing accessible parking spaces on the Property and

             their centrally adjacent access aisle are not adequately marked,

             in violation of sections 502.1 and 502.3 of the 2010 ADAAG

             standards. The signage for these accessible parking spaces is

             also worn away and not clearly visible, in violation of section


                                           7
  Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 8 of 13




        502.6 of the 2010 ADAAG standards.

(iii)   The access aisle adjacent to the accessible parking space on the

        Property is not level due to the presence of a ramp within the

        boundaries of said access aisle, in violation of section 502.4 of

        the 2010 ADAAG standards. Said access aisle is also not level

        due to numerous vertical rises in excess of ¼” (one quarter

        inch) within its boundaries, also in violation of section 502.4 of

        the 2010 ADAAG standards.

(iv)    The side flares of the above-described ramp have slopes in

        excess of 1:10 (one to ten), in violation of section 406.3 of the

        2010 ADAAG standards.

(v)     The accessible entrance to the Facility does not provide for a

        permissible amount of maneuvering clearance before it, in

        violation of section 404.2.4.1 of the 2010 ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The interior of the Facility has a sales and services/to-go

        counter lacking any portion of which that has a maximum

        height of 36” (thirty-six inches) from the finished floor, in

        violation of section 904.4 of the 2010 ADAAG standards.


                                     8
        Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 9 of 13




      (ii)    There is inadequate clear turning space in the accessible toilet

              stalls in the restrooms in the Facility, in violation of section

              603.2.1 of the 2010 ADAAG standards.

      (iii)   The rear grab bars adjacent to the commodes in the toilet stalls

              in the restrooms in the Facility do not extend 12” (twelve

              inches) from the center of the commodes, in violation of section

              604.5 of the 2010 ADAAG standards.

      (iv)    The toilet stall doors in the restrooms in the Facility are not

              self-closing, in violation of section 604.8.2.2 of the 2010

              ADAAG standards.

      (v)     The restrooms in the Facility have door hardware that requires

              pinching and twisting of the wrist to operate, in violation of

              section 404.2.7 of the 2010 ADAAG standards.

      (vi)    The soap dispensers in the restrooms in the Facility are located

              outside the prescribed vertical reach ranges set forth in section

              308.2.1 of the 2010 ADAAG standards.

      32.     Without limitation, the above-described violations of the ADAAG

made it more difficult and dangerous for Plaintiff to utilize the ramp servicing the

Property, more difficult for Plaintiff to enter and exit the Facility, more difficult for


                                           9
        Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 10 of 13




Plaintiff to transact her business while inside the Facility, and more difficult and

dangerous for Plaintiff to use the restroom in the Facility.

      33.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      34.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      35.    The Facility and Property have not been adequately maintained in

operable working condition for those features of facilities and equipment that are

required to be readily accessible to and usable by persons with disabilities, in

violation of section 28 C.F.R. § 36.211.

      36.    Upon information and good faith belief, Defendant fails to adhere to a

policy, practice and procedure to ensure that all features and facilities at the

Facility and Property are readily accessible to, and usable by, disabled individuals.

      37.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.


                                           10
       Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 11 of 13




      38.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      39.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      40.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      41.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      42.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      43.    Plaintiff’s requested relief serves the public interest.

      44.    The benefit to Plaintiff and the public of the relief outweighs any


                                          11
       Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 12 of 13




resulting detriment to Defendant.

      45.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      46.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: November 4, 2021.


                                        12
        Case 3:21-cv-00192-TCB Document 1 Filed 11/04/21 Page 13 of 13




                                    Respectfully submitted,

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich
                                    Georgia Bar No. 242240
                                    The Law Office of Craig J. Ehrlich, LLC
                                    1123 Zonolite Road, N.E., Suite 7-B
                                    Atlanta, Georgia 30306
                                    Tel: (800) 238-3857
                                    Fax: (855) 415-2480
                                    craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




                                      13
